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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  MCALLEN DIVISION
TIERRA CALIENTE MUSIC GROUP, S.A. DE §
C.V. D/B/A REMEX MUSIC and MIDAS     §
MUSICAL, INC.,                       §
                                     §                       CIVIL ACTION NO. 7:18-CV-252
VS.                                  §
                                     §
SER-CA DISCOS, INC.                  §

                 PLAINTIFFS’ FIRST AMENDED ORIGINAL COMPLAINT

       Plaintiffs TIERRA CALIENTE MUSIC GROUP, S.A. DE C.V. d/b/a REMEX MUSIC and
MIDAS MUSICAL, INC. file this First Amended Original Complaint against Defendant SER-CA
DISCOS, INC. and would show as follows:
                                           PARTIES
       1.     Plaintiff TIERRA CALIENTE MUSIC GROUP, S.A. DE C.V. d/b/a REMEX
MUSIC (“REMEX”) is a Mexican company.
       2.     Plaintiff MIDAS MUSICAL, INC. (“MIDAS”) is Texas corporation with its
principal place of business located in Webb County, Texas.
       3.     Defendant SER-CA DISCOS, INC. (“SERCA”) is Texas corporation with its
principal place of business located in Hidalgo County, Texas. SERCA has appeared in this suit
and may be served through its attorney of record.
                                       JURISDICTION
       4.     Plaintiffs allege claims for damages under 17 USC § 512(f), over which this Court
has jurisdiction pursuant to 28 USC § 1338(a).
                                 FACTUAL BACKGROUND
       5.     Eliseo Robles p/k/a La Leyenda is a professional recording artist and front man
for the Mexican regional music group popularly known as La Leyenda (hereinafter “La
Leyenda”).
       6.     On August 27, 2015, music producers German Chavez (“German”) and Domingo
Chavez (“Domingo”) entered into a written agreement with Eliseo Robles (“Exclusivity
Agreement”). Under the terms of the Exclusivity Agreement, Robles agreed to record a certain
number of creative works including songs, videos, and albums as La Leyenda, over which



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German and Domingo were given the sole and exclusive rights to utilize and control said
works.
         7.     Pursuant to the Exclusivity Agreement, Robles agreed to give German and
Domingo certain enumerated rights to the creative works to be recorded and/or produced
under the Exclusivity Agreement. In accordance therewith, La Leyenda recorded a number of
songs under the Exclusivity Agreement 1 (“2016 Songs”). La Leyenda also performed in music
videos for the songs Ponte de Modo, La Comezón, and La Apuesta.
         8.      German and Domingo assigned global (except USA) distribution rights to all
work created under the Exclusivity Agreement to Tierra Caliente. Similarly, German and
Domingo had have a contract with MIDAS that grants MIDAS exclusive rights to administer the
rights to the 2016 Songs and Music Videos in the United States. MIDAS, in turn, entered into a
contract with Select-O-Hits, Inc. to distribute new musical albums produced and released by
MIDAS, including the 2016 Songs and YouTube monetization.
         9.      Tierra Caliente uploads a number of videos to YouTube and publish them on its
RemexMusic YouTube account. These videos include: (1) La Leyenda - Ponte de Modo (Video
Oficial); (2) La Leyenda - La Comezón (Audio Oficial); (3) La Leyenda - Quiero alguien que me quiera;
(4) La Leyenda – La apuesta ft. Edwin Luna (Video Oficial); (5) La Leyenda – La mantequilla ft. Eliseo
Robles y Los Barbaros del Norte (Video Lyric); (6) La Leyenda - Cositas malas (Video Lyric); (7) Making
of “La comezón” La Leyenda; and (8) Making of la apuesta la leyenda ft Edwin la Trakalosa
(collectively, “YouTube Videos”). By uploading the YouTube Videos and distributing the 2016
Songs through web-based platforms like iTunes and Spotify, Plaintiffs participates in the
revenue stream generated by the distribution of the 2016 Songs and the YouTube Videos.
         10.    Defendant SERCA DISCOS, INC. is the former representative of La Leyenda, is a
stranger to the Exclusivity Agreement. On or about July 25, 2017, SERCA began a fraudulent
and destructive campaign to obstruct and prevent Plaintiffs from distributing and promoting
the 2016 Songs and the YouTube Videos. Specifically, SERCA issued notices to YouTube
(“Takedown Notices”) pursuant to the Digital Millennium Copyright Act (“DMCA”),
fraudulently claiming that SERCA held the copyrights to the content included in the YouTube
Videos.



         1 Songs recorded under the Exclusivity Agreement include, but are not limited to, Ponte de Modo,

La Mantequilla, La Comezón, Cositas Malas, Quiero Alguien Que Me Quiera, and La Apuesta.


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       11.    The DMCA allows any person claiming to hold a copyright to request that the
service provider—in this case, YouTube—remove access to the allegedly infringing content by
written request, signed under penalty of perjury. No proof of any copyright registration is
needed for a Takedown Notice to be acted upon by the Service Provider.
       12.    Naturally, SERCA’s Takedown Notices caused YouTube to remove Tierra
Caliente’s YouTube Videos from the RemexMusic account. Under its agreement with YouTube,
Tierra Caliente is a “content creator” and is therefore entitled to payment from YouTube for
each time a video is viewed. The Takedown Notices caused Plaintiffs to suffer economic
damages as well as reputations damages.
       13.    The Takedown Notices for the YouTube Videos resulted in Tierra Caliente’s
YouTube account receiving two out of three possible “strikes.” A third strike will result in the
catastrophic termination of Tierra Caliente’s RemexMusica YouTube account, which includes
videos of other exclusive artist content owned by Tierra Caliente and, in some cases, managed
by MIDAS. Because of the serious threat to the continued existence of its YouTube account, and
believing that SERCA would continue to issue additional Takedown Notices, Tierra Caliente
could not jeopardize the continued existence of its RemexMusica account by uploading any more
La Leyenda content. As a result, Plaintiffs’ right to benefit from the 2016 Songs and YouTube
Videos has been effectively hijacked by SERCA. SERCA apparently will stop at nothing to
undermine Plaintiffs’ business.
                                   CLAIMS AND DAMAGES
       14.    By    filing   the   Takedown   Notices,    SERCA    knowingly    and   materially
misrepresented that the YouTube Videos constitute an infringement. This constitutes a violation
of 17 USC § 512(f), for which Plaintiffs seeks actual damages, costs, and attorney fees resulting
from YouTube relying upon such misrepresentations and removing or disabling access to the
YouTube Videos.
                         CONDITIONS PRECEDENT & CAPACITIES
      15.     All conditions precedent to Plaintiffs’ claims for relief have been performed or
have occurred. Plaintiffs sue Defendant in all capacities in which Plaintiffs are able to recover
and in all capacities in which Defendant may be liable.




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                                           PRAYER
       Plaintiffs TIERRA CALIENTE MUSIC GROUP, S.A. DE C.V. and MIDAS MUSICAL,
INC. pray that, upon a final trial, they recover a judgment against Defendant SER-CA DISCOS,
INC. for actual damages, attorney fees, costs, interest, and all other relief to which they have
shown themselves.
                                                   Respectfully submitted,

                                                   /s/ Raymond L. Thomas
                                                   Raymond L. Thomas
                                                   S.D. Tex. No. 10715
                                                   rthomas@raythomaspc.com
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                               CERTIFICATE OF CONFERENCE

         This First Amended Complaint supersedes Plaintiffs’ Original Petition, to which
Defendant responded by filing a Rule 12(b)(6) motion to dismiss. Federal Rule of Civil
Procedure 15(a)(1) permits a party to amend its pleading as a matter of course “after service of a
motion under Rule 12(b).” FED. R. CIV. P. 15(a)(1)(B). The 21-day window Plaintiffs had to file an
amended pleading was extended by agreement to October 15. Doc. 7. Accordingly, Plaintiffs are
filing this First Amended Complaint as a matter of right under Rule 15 and no conference with
Defendant is required.

                                                            /s/ Raymond L. Thomas
                                                            Raymond L. Thomas



                                 CERTIFICATE OF SERVICE

        On October 15, 2018, a true and correct copy of the foregoing instrument was served on
the following persons in accordance with the Federal Rules of Civil Procedure:

       Via E-File
       Yocel Alonso
       Counsel for Defendant
                                                            /s/ Raymond L. Thomas
                                                            Raymond L. Thomas




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